Case 01-01139-AMC Doc 4020-2 Filed 07/08/03 Page 1of11

IN LHE CIRCUIT COURT OF THE COUNTY OF ST, LOUIS
STATE OF MISSOURI
Division No. 4
The Honorable Bernhardt c. Drunn, Jr., Judge

CLAYTON CENTER ASSOCIATES,
ET. AL.,

Plaintiffs,

Cause No. 581479

W.R. GRACE & CO.-CONN.,

a

Defendants.

DAILY TRANSCRIPT

OF TRIAL

TUESDAY, FEBRUARY 18, 1992

(Volume V)

Testimony of:

. William A. Longo, PhD
~ ". & ~~
Mr. Ronald v. Gobbell

Linda Tockman, ccR, CM .
Rebecca Dickler, CCR, cM .
Official Court Reporters
21st Judicial Circuit

eee

Case 01-01139-AMC Doc 4020-2 Filed 07/08/03 Page 2 of 11

Q

A

Q

When did you do that ork?
Approximately 1988.

Dr. Longo, have you done any analysis of dust

Samples that were taken in the Chromalloy building?

done?

Yes, sir, we have.

How many groups or sets of analyses have you

Four groups or sets.

When was the first, when was the first Buch

It was in October of 1989.
How many samples did you look at?

in that particular grouping we looked at,

just hold on for a second. We looked at eight samples.

it?

tile?

A

Q

From how many different floors?
They came from seven different floors.

Did you find a sample that. had no asbestos in

Yes, sir, we did.

Was that taken above or below the ceiling

I understand it’s below the ceiling.

Of those samples that you found

| asbestos-containing materials in, what. was the average

asbestos structure count per square foot?

25

we

Case 01-01139-AMC Doc 4020-2 Filed 07/08/03 Page 3of11

A The average concentr— ion was 538 Million 97:
Thousand asbestos structures per square foot.

Q And what was the range of structures where
you found asbestos? .

A- he highest one was One Billion,
348 Thousand ~" excuse me, One Billion, 348 Million
asbestos structures per square foot. The lowest one was
35 Million 190 Thousand asbestos-containing structures

per square foot.

Q Dr. Longo, so we know what structures are and

“how: you do this analysis, did you take some photographs
Of the dust?

-_ =e. a:

A Yes, sir, we did.

Q Did you take sone Photographs of a bulk

Sample that was taken?
A Yes, sir. Yes, sir, we did.

Q And have you prepared those photographs on

two charts?

A. Yes, I have.
'¢@Q Is that what these are?
=
A Yes.

MR. RUNYAN: Your Honor, at this time I would
like to ask the witness to come down in front of the jury
so I might ask him sone questions about these two.

THE COURT: Okay.

26

Case 01-01139-AMC Doc 4020-2 Filed 07/08/03 Page 4of11
A (The witness complied.)
Q (By Mr. Runyan) First of all, Dr. Longo,

would you please stand right there, please, sir?

A (By the Witness) Sure.
Q Tell the jury what these photographs are of, !
_A This is from bulk samples that were taken

from the Chromalloy building. These are bulk Sanples of
the W.R. “Grace Monokote that’s in here. This shows the
various ingredients that are in the bulk sample.

, “the first, we have chrysotile asbestos.

That‘s these long fiber etructuresyou see in this

photograph.

Q Let me stop you right there. Are these taken

with an electron microscope?

A Yes, sir, they were.
Q Go ahead.
A These were placed onto a filter. You notice,

you will see the little holes. That‘’s actually the

filter material that collected these fibers.
The second component that’s in the asbestos

~
products is another type of asbestos fiber called

tremolite. That’s shown by this long structure here.

The third ingredient that we typically find

| dn these samples is known as vermiculite. This is a

vermiculite plate. Again you see all these chrysotile

27

Case 01-01139-AMC Doc 4020-2 Filed 07/08/03 Page 5of11

fiber s._uctures.

The last component is known as gypsun. You
can see again this type of telltale sign of what gypsun

looks like. Again we have some vermiculite and

Chrysotile.

a Dr. Longo, are these elements that you have
written here constituents of the product known. as
Monokote, the asbestos-containing version?

A Yes, it is.
Q Did you take these photographs of a sample

material that came from this building?

A Yes, I did. _

Q In your opinion what product is that? /

A That is W.R. Grace Monokote-3.

Q And can you tell the jury about the length of

some of these fibers that you see here?

A Well, we have a wide range of sizes. These
holes, for reference, are approximately -2 microns in
size. So we have fibers as small as 1.micron, and you
can see some fibers that were very long, greater than

~ ns
5 microns. You have a whole size distribution of fibers

in this material.

Q Hang on just a. second. Now, what are these

photographs of?

A ‘These are photographs of the various types of

28
Case 01-01139-AMC Doc 4020-2 Filed 07/08/03 Page 6 of 11

Structu.es we found in the dust samples.

Q All right. What is this a picture of?

A Again we have chrysotile. Here is a
chrysotile structure. This is what is known as a bundle.
If you look closely -you can see this structure consists
of at least 5 to 10 fibers, but as an electron
microscopist we are only allowed to count that as one
structure, just as we count 1 fiber as one structure.
But you can see it has multi-fibers in that structure.

The second thing we found, again, is another
tremolite fiber. We also found these vermiculite Plates,
You remember in the last photograph the: vermiculite
plates are one of the ingredients of the Menokote. Here
is another one. This has multi-asbestos fibers
associated with it. Again, as an electron microscopist:
we can only count that as one material.

The last thing we found is some gypsum in the
dust, as well as vermiculite and chrysotile.

Q _ Dr. Longo, based upon your analysis. of the
bulk Sample, and based upon your analysis of the dust
sample, do you have an opinion where these constituents
in the dust from the back of the ceiling tile in the
Chromalloy building came fron?

a Yes, Ido. ~

° Where did it come fron?

29

Case 01-01139-AMC Doc 4020-2 Filed 07/08/03 Page 7 of11
2 From the fireproofir in the building.

Q Did you find the sane ingredients in the dusi
that you found in the sample itself?

Q Do you have an opinion about. where the

vermiculite was mined?

A I believe it was mined at the Libby mines in
Montana.
Q Why is that your opinion?
A We did some additional analysis for these

materials and found a very high concentration of
tremolite in with the vermiculite. That‘s one of the
contaminants associated with verniculite out of. that

nine.

Q Thank you, sir. You can take your seat
again.

Doctor, I may have gotten a little bit head
of myself. Will’ you just tell the jury what a dust
sample is?

A , It’s quite Literally ‘sampling that you've all
seen, regular dust that accumulates on a surface over
time. We literally sample that @ust and analyze it to ~

see how much if any asbestos is in it.

Q Let’s go back now to the dust samples,

grouping of dust samples you said you got. We talked

30

Case 01-01139-AMC Doc 4020-2 Filed 07/08/03 Page 8 of 11

about the group in October of 89. Did you analyze any
others after that?
A Yes, sir, the next set of samples came in

around April 18th of 1992. .

Q And how many samples where in that set?
A There were four samples.
Q Can you tell the jury how many floors were

represented in those samples?

A Four different floors.

Q . What was the average concentration in "
structures per square foot?

A The average concentration for these samples
was 11 Billion 860 | Million 750 Thousand asbestos
structures per square foot.

. Q Can you tell the jury the range in
concentration among those four samples?

A The highest one was 39 Billion 960 Million
asbestos structures per square foot. The lowest one was
143 Million 400 Thousand asbestos structures per square
foot.

~
Q Dia you subsequently receive any other dust

samples that you analyzed from this building?

A The next set of dust samples | we received on .

April 29th of 1991.

Q@ And how many samples where in that set?

31

oe 6}

10

11

Case 01-01139-AMC Doc 4020-2 Filed 07/08/03 Page 9of11

a There were five Sanpiés.

Q And from how many different floors?

A Five different floorings.

Q What was the average concentration in

structures per square foot for those samples?
_A The average concentration was 2 Billion
419 Million asbestos structures per square foot.
Q And what was the range in concentration for

those five samples?

A The highest one found on the 8th floor was

6 Billion 102 Million asbestos structures per square
foot. e

Q What was the lowest?

A The lowest was 118 Million asbestos
structures per square foot. .

Co Finally, Dr. Longo, did-you analyze another
set of dust samples from this building?

A Yes, sir, the last, the next set came in on

July 21st of 1991.

Q How many floors were represented in that?
A In this particular set, four different
floors. .
Q How many samples did you have?
"OAR Four.
Q What was the average concentration?

32

Case 01-01139-AMC Doc 4020-2 Filed 07/08/03 Page 10 of 11

A The average concentra-ion was 816 Million.
333 Thousand 330 asbestos structures per square foot,

Q Can you tell the jury the range in
concentration for these four samples?

A The highest one, which was found on the 18th
floor on top of a ceiling tile, was 2 Billion 222 Million
asbestos structures per square foot. The lowest was
103 Million 900 Thousand asbestos structures per square
foot.

Q Doctor, have you computed an average
concentration in structures per square foot for all of

these samples?

A Yes, I have.
Q What is that?
A It’s approximately 3 Billion 900 Million

asbestos structures per square foot.
Q Now, let mé ask you a couple of things about
the procedure that you go through in analyzing and

preparing one of these. samples. Do you ever dilute.a

sample? ~
A Yes, sir.
Q Why do you do that?
A Well, most of the times if there is asbestos

present the asbestos concentration may be much too

concentrated for us to analyze it in the electron:

33

ee

#

Case 01-01139-AMC Doc 4020-2 Filed 07/08/03 Page 11 of 11
microscc :. In that case we have o dilute the sample &O

we can get it down to a number of asbestos structures
that we can actually count in the microscope.

Q Have you brought with you a slide showing a

heavily-loadea sample?

A Yes, sir.

Q Can you see that, Dr. Longo?
A Yes, sir, I can.

Q What does that show?

A

That is an actual photograph of the
electron -- in the electron microscope of one of the dust
Samples in this project. And what it shows, and this is’
one small area that we are looking at. What it shows is
there is literally asbestos structures everyvhere. And
there are so many of them we can’t count then.

Q So when you have a situation like this, what
do you do so you can count then?
A We then dilute the sample, that is, put less

structures ina bigger | volume 50 then we can count the

sample.
7.
Q Physically how do you do that?
A We take the solution that the asbestos is in-

and we take a gmall component ‘out of it and dilute it

into a bigger volume so that you have less fibers now, or

iess structures in a larger volume. We then filter that.

34

